                                      IN	  THE	  UNITED	  STATES	  DISTRICT	  COURT	  	  
                                     FOR	  THE	  MIDDLE	  DISTRICT	  OF	  TENNESSEE	  
                                                       AT	  NASHVILLE	  
 	  
 UNITED	  STATES	  OF	  AMERICA,	  	                       	           )	  
 	     	     	          	    	                             	           )	  
 	     	     	          	    	                             	           )	         Case	  No.	  	  3:10-­‐cr-­‐00260-­‐8	  
 v.	   	     	          	    	                             	           )	         William	  J.	  Haynes	  
 	     	     	          	    	                             	           )	         Federal	  District	  Judge	  
 	     	     	          	    	                             	           )	  
 FADUMO	  MOHAMED	  FARAH.	                                  	           )	  
 	     	  
                                                           	  
                                          MOTION	  IN	  LIMINE	  #2	  
                                                           	  
                                                           	  
 	          Comes	  now	  the	  accused,	  Faduma	  Farah,	  by	  and	  through	  her	  counsel,	  Luke	  A.	  

 Evans,	  and	  moves	  this	  Honorable	  Court	  to	  issue	  an	  order	  directing	  the	  Government	  

 as	  follows:	  

 	          1.	         It	  is	  anticipated	  by	  the	  accused,	  that	  the	  Government	  will	  put	  on	  proof	  

 that	   the	   accused	   made	   material	   false	   statements	   to	   the	   United	   States	   on	   her	  

 Application	  to	  Register	  Permanent	  Residence	  or	  Adjust	  Status	  on	  August	  21,	  2009.	  	  

 More	   specifically,	   it	   is	   alleged	   that	   Mrs.	   Farah	   falsely	   stated	   that:	   1)	   that	   she	   had	   not	  

 received	   any	   government	   assistance;	   and	   2)	   that	   she	   had	   not	   procured	   anyone	   for	  

 prostitution.	  	  Mrs.	  Farah	  is	  indicted	  on	  the	  alleged	  acts	  in	  Count	  23	  of	  the	  indictment	  

 which	  was	  previously	  severed	  from	  the	  trial	  in	  this	  cause.	  	  	  	  

 	          2.	         Based	   on	   the	   foregoing,	   the	   accused	   moves	   this	   Honorable	   Court	   to	  

 issue	  an	  Order	  directing	  the	  Government	  to	  refrain	  from	  referencing	  in	  any	  manner,	  

 in	   the	   presence	   of	   jury,	   any	   and	   all	   facts	   related	   to	   the	   false	   statements	   allegedly	  

 made	  by	  Defendant	  on	  August	  21,	  2009.	  	  	  




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 	           3.	         Any	   information	   regarding	   those	   allegations	   would	   be	   irrelevant	   at	  

 the	  trial	  in	  this	  cause	  pursuant	  to	  the	  Federal	  Rules	  of	  Evidence,	  401,	  402.	  	  Moreover,	  

 if,	   said	   information	   were	   allowed	   to	   be	   presented	   to	   the	   jury,	   it	   would	   be	   unfairly	  

 prejudicial	   to	   the	   accused	   and	   likely	   confuse	   the	   jury	   and/or	   mislead	   the	   jury	   for	  

 their	   consideration	   of	   the	   indicted	   offense	   in	   violation	   of	   Rule	   403	   of	   the	   Federal	  

 Rules	  of	  Evidence.	  	  	  

 	           4.	   	   Additionally,	   to	   introduce	   such	   evidence	   to	   the	   jury	   in	   this	   cause	   would	  

 violate	  Rule	  404b	  of	  the	  Federal	  Rules	  of	  Evidence,	  as	  it	  is	  evidence	  of	  “other	  acts”.	  

 The	  allegations	  of	  material	  false	  statement	  have	  no	  probative	  value	  to	  the	  indicted	  

 offenses.	  Therefore,	  the	  probative	  value	  is	  substantially	  outweighed	  by	  the	  danger	  of	  

 unfair	  prejudice.	  	  

 	           5.	  	  In	  the	  alternative,	  that	  the	  Government	  be	  required	  to	  conduct	  a	  jury	  out	  

 hearing,	   in	   full	   compliance	   with	   Rule	   404b	   of	   the	   Federal	   Rules	   of	   Evidence,	   prior	   to	  

 presenting	  such	  evidence	  to	  the	  Jury.	  	  	  	  	  

 	           WHEREFORE,	  PREMISES	  CONSIDERED,	  the	  accused,	  through	  counsel,	  moves	  

 this	   Honorable	   Court	   for	   the	   relief	   as	   stated	   herein,	   as	   well	   as	   any	   further	   general	  

 relief	  that	  this	  Court	  deems	  both	  necessary	  and	  proper.	  	  	  

 	  	  




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                                            Respectfully submitted,
           	  
                                            BULLOCK,	  FLY,	  HORNSBY	  &	  EVANS	  
 	  
 	  
                                            /s/	  Luke	  A.	  Evans	  
                                            LUKE	  A.	  EVANS,	  BPR	  #23620	  
                                            Attorney	  for	  Defendant	  
                                            302	  North	  Spring	  Street	   	                	  
                                            P.	  O.	  Box	  398	  
                                            Murfreesboro,	  TN	  37133-­‐0398	  
                                            (615)	  896-­‐4154	  
 	  
                                                     Certificate	  of	  Service	  
                                                                       	  
 	        I	  hereby	  certify	  that	  on	  March	  9,	  2012,	  I	  electronically	  filed	  the	  foregoing	  
 Motion	  with	  the	  clerk	  of	  the	  court	  by	  using	  the	  CM/ECF	  system,	  which	  will	  send	  a	  
 Notice	  of	  Electronic	  Filing	  to	  the	  following:	  Van	  Vincent,	  Assistant	  United	  States	  
 Attorney,	  110	  Ninth	  Avenue	  South,	  Suite	  A-­‐961,	  Nashville,	  Tennessee	  37203;	  along	  
 with	  the	  other	  parties	  in	  this	  case	  as	  listed	  to	  be	  noticed	  in	  the	  CM/ECF	  system.	  
 	  
 	        	         	        	             	          	          /s/	  Luke	  A.	  Evans___________________________	  
 	        	         	        	             	          	          LUKE	  A.	  EVANS	  
 	  
 	  
 	  
 	  




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